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  8                     UNITED STATES DISTRICT COURT
  9                    CENTRAL DISTRICT OF CALIFORNIA
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 11   JACOB ANDREW BERGERON,              Case No. CV 21-06340 VBF (RAO)
 12                     Petitioner,
 13         v.                            JUDGMENT
 14   DIANNE DAVIS, et al.,
 15                     Respondents.
 16

 17        IT IS HEREBY ADJUDGED that this action is dismissed with prejudice.
 18

 19   DATED: October 8, 2021                  /s/ Valerie Baker Fairbank
 20
                                             VALERIE BAKER FAIRBANK
 21                                        UNITED STATES DISTRICT JUDGE
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